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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,
                                                  CaseNo.:2:24-cr-00407
       V.




TIMOTHY BOGEN, et cd                                     TRAVEL CONSENT ORDER

             Defendants.




       THIS MATTER having been brought before the Court by Defendant David Lonergan

(by Bruce S. Rosen, Esq. and Sarah Fehm Stewart, Esq.), with the consent of the Government


(by Katherine M. Romano and Jessica R. Ecker, Assistant U.S. Attorneys), and with the consent


ofPretrial Services (by Kadian Hammon, Pretrial Services Officer for the Eastern District of

New York) and for good cause shown:


       IT IS on this '_^)J_^ day ~Tof /lyULU^^-^024, ORDERED that Defendant

David Lonergan be permitted to remain outside the United States in Ireland until January 1 1,

2025, for the purposes of receiving medical care, as Mr. Lonergan is eligible for Ireland's


national health insurance.




SO ORDERED.


                                                     HON.
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CONSENTED AND AGREED TO BY;



      /s/ 'Jessica R. Ecker                  By: /s/ Sarah Fehm Sfemn'f
    Katherine M. Romano                          Bruce S, Rosen
    Jessica R. Ecker                             Pashman Stein Walder Hayden PC
    Assistant U.S. Attorney                      101 Crawfords Comer Road, Suite 4202
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    Newark, New Jersey 07102                     -and-

    973-353-6095                                 Sarah Fehm Stewart
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                                                 Florham Park, New Jersey 07932
Dated: November 15,2024                          973-424-2061
                                                 sfstewart(%duanemorris.com


                                                 Attorneys for Defendant David Lonergcm

                                             Dated: November 15, 2024
